            Case 23-59198-wlh                Doc 1       Filed 09/21/23 Entered 09/21/23 17:44:06                       Desc Main
                                                         Document      Page 1 of 42


Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Northern District of Georgia

Case number (If known):                                    Chapter    7
                                                                                                                                Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             Blomquist Builders Group Inc.


2.    All other names debtor used in the
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                3478 Rabbit Run
                                                Number      Street                                   Number        Street


                                                Acworth                   GA    30101
                                                City                      State Zip Code             City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                COBB
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)




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Debtor       Blomquist Builders Group Inc.                                                        Case number (if known)
             Name


6.   Type of debtor                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  Partnership (excluding LLP)
                                                  Other. Specify:


7.   Describe debtor’s business:              A. Check one:
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  None of the above


                                              B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                   80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                              C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .




8.   Under which chapter of the               Check one:
     Bankruptcy Code is the debtor
                                                  Chapter 7
     filing?
                                                  Chapter 9
                                                  Chapter 11. Check all that apply:
     A debtor who is a “small business                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-box.                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     A debtor as defined in § 1182(1) who                                affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                                recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                                   income tax return or if any of these documents do not exist, follow the procedure in
     debtor is a “small business debtor”)                                11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                         less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                         11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                         operations, cash-flow statement, and federal income tax return, or if any of these
                                                                         documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                         Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                         Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                         Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                         Rule 12b-2.
                                                  Chapter 12




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Debtor        Blomquist Builders Group Inc.                                                        Case number (if known)
              Name



9.    Were prior bankruptcy cases filed               No
      by or against the debtor within the
      last 8 years?                                   Yes. District                                   When                      Case number
                                                                                                               MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                          District                                 When                      Case number
                                                                                                               MM/DD/YYYY



10.   Are any bankruptcy cases pending                No
      or being filed by a business partner
      or an affiliate of the debtor?
                                                      Yes. Debtor                                                    Relationship

      List all cases. If more than 1, attach a                District                                                When
                                                                                                                                        MM/DD/YYYY
      separate list.

                                                              Case number, if known


11.   Why is the case filed in this               Check all that apply:
      district?
                                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                       days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                       any other district.
                                                      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                       district.


12.   Does the debtor own or have                     No
      possession of any real property or
      personal property that needs                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                                  Why does the property need immediate attention? (Check all that apply.)
                                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                  or safety.
                                                                  What is the hazard?
                                                                 It needs to be physically secured or protected from the weather.
                                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                  related assets or other options).
                                                                 Other



                                                             Where is the property?
                                                                                            Number                     Street




                                                                                            City                                State       ZIP Code


                                                            Is the property insured?
                                                                 No
                                                                 Yes. Insurance agency

                                                                          Contact name

                                                                          Phone




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Debtor        Blomquist Builders Group Inc.                                                     Case number (if known)
              Name



            Statistical and administrative information

13.   Debtor’s estimation of available         Check one:
      funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


14.   Estimated number of creditors                 1-49                                  1,000-5,000                         25,001-50,000
                                                    50-99                                 5,001-10,000                        50,001-100,000
                                                    100-199                               10,001-25,000                       More than 100,000
                                                    200-999


15.   Estimated assets                              $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion


16.   Estimated liabilities                         $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on      9/21/2023
                                                                      MM / DD / YYYY


                                                 /s/ Jennifer Blomquist
                                                  Signature of authorized representative of debtor
                                                                                                           Jennifer Blomquist
                                                                                                           Printed name


                                                     Title    President




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             Name



18.   Signature of attorney
                                             /s/ Evan Altman
                                              Signature of attorney for debtor
                                                                                               Date      9/21/2023
                                                                                                         MM / DD / YYYY



                                                Evan Altman
                                                Printed name

                                                Evan Altman Law Office
                                                Firm name

                                                8325 Dunwoody Place
                                                Number          Street

                                                Atlanta                                          GA              30350
                                                City                                             State           ZIP Code


                                                                                                 EVAN.ALTMAN@LASLAWGROUP.C
                                                (770) 394-6466                                   OM
                                                Contact Phone                                    Email address



                                                014066                                           Georgia
                                                Bar number                                       State




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Fill in this information to identify the case and this filing: 

Debtor Name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the:    Northern District of Georgia

Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the
date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.


         Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration



         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on      9/21/2023
                          MM/DD/YYYY
                                                                                       /s/ Jennifer Blomquist
                                                                                        Signature of individual signing on behalf of debtor


                                                                                          Jennifer Blomquist
                                                                                          Printed name

                                                                                          President
                                                                                          Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                      page 1 of 1
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Fill in this information to identify your case: 

Debtor Name            Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                                                                                            Check if this is an
                                                                                                                                                                                                   amended filing
Case number (If known):




Official Form 206Sum
Summary of Your Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15


Part 1:        Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

      1a. Real property:
          Copy line 88 from Schedule A/B ............................................................................................................................. .........               $                0.00

      1b. Total personal property:

           Copy line 91A from Schedule A/B ............................................................................................................................. .......               $           3,989.68

      1c. Total of all property:
          Copy line 92 from Schedule A/B ............................................................................................................................. .........               $           3,989.68


Part 2:        Summarize Your Liabilities

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D............................................                                                  $                0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F.....................................................................................                                  $                0.00

      3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..........................................................                                          + $      1,548,041.00



 4. Total liabilities ............................................................................................................................. ......................................     $      1,548,041.00
      Lines 2 + 3a + 3b




Official Form 206Sum                                                    Summary of Assets and Liabilities for Non-Individuals                                                                              page 1 of 1
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Fill in this information to identify your case: 

Debtor Name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                             Check if this is an
                                                                                                                                   amended filing
Case number (If known):




Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases.
Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet
is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do
not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
      No. Go to Part 2.
      Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                       Current value of debtor’s
                                                                                                                           interest


2.   Cash on hand                                                                                                          $                        0.00


3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
     Name of institution (bank or brokerage firm)        Type of account                 Last 4 digits of account number

     3.1     Piedmont Bank                               Checking Account                1129                              $                    857.29


     3.2     Piedmont Bank                               Checking Account                5501                              $                    303.08


     3.3     United Community Bank                       Checking Account                                                  $                  2,829.31


4.   Other cash equivalents (Identify all)


5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                        $                  3,989.68




Official Form 206A/B                                                Schedule A/B: Property                                                  page 1 of 10
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               Name



Part 2:    Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?
      No. Go to Part 3.
      Yes. Fill in the information below.
                                                                                                                              Current value of debtor’s
                                                                                                                              interest

7.   Deposits, including security deposits and utility deposits
     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
     Description, including name of holder of prepayment


9.   Total of Part 2
     Add lines 7 through 8. Copy the total to line 81.                                                                        $                     0.00



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
      No. Go to Part 4.
      Yes. Fill in the information below.
                                                                                                                              Current value of debtor’s
                                                                                                                              interest

11. Accounts receivable

     11a. 90 days old or less:                                        0.00    –                                    0.00   =   $                      0.00
                                             face amount                          doubtful or uncollectible accounts




     11b. Over 90 days old:                                           0.00    –                                    0.00   =   $                      0.00
                                             face amount                          doubtful or uncollectible accounts




12. Total of Part 3
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                   $                     0.00




Official Form 206A/B                               Schedule A/B: Property  Real and Personal Property                                        page 2 of 10
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Part 4:   Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                               Valuation method used   Current value of debtor’s
                                                                                               for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:

15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                    % of ownership:

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:


17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.                                                                 $                     0.00




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
      General description                Date of the last           Net book value of          Valuation method used   Current value of debtor’s
                                         physical inventory         debtor's interest          for current value       interest
                                                                    (Where available)

19. Raw materials

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies


23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.                                                                 $                     0.00


24. Is any of the property listed in Part 5 perishable?
     No
     Yes




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                               page 3 of 10
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25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes.
              Book value     $                   0.00 Valuation method                                     Current Value   $                   0.00




26 Has any of the property listed in Part 5 been appraised by a professional within the last year?
    No
     Yes



Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                            Net book value of            Valuation method used            Current value of debtor’s
                                                                     debtor's interest            for current value                interest
                                                                     (Where available)

28. Crops—either planted or harvested


                                                                     $              0.00                                       $                           0.00



29. Farm animals Examples: Livestock, poultry, farm-raised fish


                                                                     $              0.00                                       $                           0.00



30. Farm machinery and equipment (Other than titled motor vehicles)


                                                                     $              0.00                                       $                           0.00



31. Farm and fishing supplies, chemicals, and feed


                                                                     $              0.00                                       $                           0.00



32. Other farming and fishing-related property not already listed in Part 6


                                                                     $              0.00                                       $                           0.00




Official Form 206A/B                              Schedule A/B: Property  Real and Personal Property                                             page 4 of 10
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33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.                                                                             $                          0.00


34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes
              Book value      $                     0.00 Valuation method                                  Current Value   $                     0.00



36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes



Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     No. Go to Part 8.
     Yes. Fill in the information below.
      General description                                            Net book value of          Valuation method used              Current value of debtor’s
                                                                     debtor's interest          for current value                  interest
                                                                     (Where available)

39. Office furniture

                                                                        $          0.00                                        $                            0.00



40. Office fixtures

                                                                        $           0.00                                       $                            0.00



41. Office equipment, including all computer equipment and
    communication systems equipment and software

                                                                        $           0.00                                       $                            0.00




Official Form 206A/B                                Schedule A/B: Property  Real and Personal Property                                            page 5 of 10
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42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

                                                                            $             0.00                                  $                          0.00




43. Total of Part 7.
     Add lines 38 through 42. Copy the total to line 86.                                                                            $                      0.00


44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
      Yes

45 Has any of the property listed in Part 7 been appraised by a professional within the last year?
    No
      Yes



Part 8:     Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
      No. Go to Part 9.
      Yes. Fill in the information below.

       General description                                                  Net book value of           Valuation method used       Current value of debtor’s
                                                                            debtor's interest           for current value           interest
       Include year, make, model, and identification numbers (i.e.,
       VIN, HIN, or N-number)                                               (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                            $             0.00                                  $                          0.00



48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
    floating homes, personal watercraft, and fishing vessels

                                                                            $             0.00                                  $                          0.00



49. Aircraft and accessories

                                                                            $             0.00                                  $                          0.00



50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)
                                                                            $             0.00                                  $                          0.00




Official Form 206A/B                                  Schedule A/B: Property  Real and Personal Property                                          page 6 of 10
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Debtor          Blomquist Builders Group Inc.                                                  Case number (if known)
                Name




51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.                                                                                $                       0.00


52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes



Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

      Description and location of                   Nature and extent          Net book value of           Valuation method used           Current value of
      property                                      of debtor’s interest       debtor's interest           for current value               debtor’s interest
      Include street address or other description   in property                (Where available)
      such as Assessor Parcel Number (APN),
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.



56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                $                       0.00


57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes



Part 10:    Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
      General description                                                  Net book value of           Valuation method used           Current value of debtor’s
                                                                           debtor's interest           for current value               interest
                                                                           (Where available)

60. Patents, copyrights, trademarks, and trade secrets
                                                                           $              0.00                                     $                            0.00


Official Form 206A/B                                   Schedule A/B: Property  Real and Personal Property                                              page 7 of 10
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Debtor         Blomquist Builders Group Inc.                                       Case number (if known)
               Name




61. Internet domain names and websites
                                                                     $          0.00                                $                         0.00



62. Licenses, franchises, and royalties
                                                                     $          0.00                                $                         0.00



63. Customer lists, mailing lists, or other compilations
                                                                     $          0.00                                $                         0.00



64. Other intangibles, or intellectual property
                                                                     $          0.00                                $                         0.00



65. Goodwill
                                                                     $          0.00                                $                         0.00




66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                 $                     0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                               page 8 of 10
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Debtor           Blomquist Builders Group Inc.                                             Case number (if known)
                  Name



Part         All other assets
11:

70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.
        No. Go to Part 12.
        Yes. Fill in the information below.
                                                                                                                             Current value of debtor’s
                                                                                                                             interest

71. Notes receivable
       Description (include name of obligor)

                                                                       0.00 –                                       0.00 =   $                      0.00
                                                   Total face amount              doubtful or uncollectible accounts




72. Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)

                                                                                        Tax Year                             $                      0.00



73. Interests in insurance policies or annuities

                                                                                                                             $                      0.00



74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                                                             $                      0.00
       Nature of claim

       Amount requested                        $                       0.00



75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of
    the debtor and rights to set off claims

                                                                                                                             $                      0.00
       Nature of claim
       Amount requested                        $                       0.00



76. Trusts, equitable or future interests in property

                                                                                                                             $                      0.00



77. Other property of any kind not already listed Examples: Season tickets, country club membership

                                                                                                                             $                      0.00



Official Form 206A/B                                    Schedule A/B: Property  Real and Personal Property                                  page 9 of 10
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                   Name




78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                                      $                   0.00

79   Has any of the property listed in Part 11 been appraised by a professional within the last year?
      No
      Yes




Part 12:       Summary


In Part 12 copy all of the totals from the earlier parts of the form.

         Type of property                                                                              Current value of                      Current value of
                                                                                                       personal property                     real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                               $              3,989.68

  81. Deposits and prepayments. Copy line 9, Part 2.                                                   $                     0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                       $                     0.00

  83. Investments. Copy line 17, Part 4.                                                               $                     0.00

  84 Inventory. Copy line 23, Part 5.                                                                  $                     0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                        $                     0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                            $                     0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                        $                     0.00


  88. Real property. Copy line 56, Part 9. ...................................................................................               $                    0.00


  89. Intangibles and intellectual property. Copy line 66, Part 10.                                    $                     0.00


  90. All other assets. Copy line 78, Part 11.                                                  + $                          0.00


  91. Total. Add lines 80 through 90 for each column...................... 91a.                        $              3,989.68       + 91b. $                      0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ........................................................................................           $       3,989.68




Official Form 206A/B                                           Schedule A/B: Property  Real and Personal Property                                                        page 10 of 10
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Fill in this information to identify your case: 

Debtor Name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                                   Check if this is an
                                                                                                                                           amended filing
Case number (If known):



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

Be as complete and accurate as possible


1.   Do any creditors have claims secured by your property?
      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      Yes. Fill in all of the information below.

Part 1:    List Creditors Who Have Secured Claims

                                                                                                              Column A                     Column B
2.   List in alphabetical order all creditors who have secured claims. If a creditor has more than            Amount of claim              Value of collateral
     one secured claim, list the creditor separately for each claim.                                          Do not deduct the            that supports this
                                                                                                              value of collateral.         claim


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any                           $              0.00



Part 2:   List Others to Be Notified for a Debt That You Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and Address                                                                                            On which line in Part 1           Last 4 digits of
                                                                                                            did you enter the                 account number
                                                                                                            related creditor?                 for this entity




Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 1
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Fill in this information to identify your case: 

Debtor             Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                                    Check if this is an
                                                                                                                                           amended filing
Case number (If known):



Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1.       Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.
2.       List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3
         creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1
                                                                                                             Total Claim                 Priority Amount


Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

3.        List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
          claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                Amount of claim

 4.1       Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                              Check all that apply.
                                                                                                                              $                                0.00
           Bryan Burkhalter                                                       Contingent
                                                                                  Unliquidated
           900 Circle 75 Parkway Suite 950                                        Disputed

           Atlanta, GA 30339

           Date or dates debt was incurred                                    Basis for the claim:                                Description

                                                                                                                                  Notice Only - Denise
                                                                                                                                  Chapman Mushegan and
                                                                                                                                  H. Alan Mushegan
           Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 4
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              Name



 4.2     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                         0.00
         Bryan Busch                                                    Contingent
                                                                        Unliquidated
         3424 Peachtree Road Suite 1600                                 Disputed

         Atlanta, GA 30326

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Notice Only - Denise
                                                                                                                        Chapman Mushegan and
                                                                                                                        H. Alan Mushegan
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




 4.3     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                     0.00
                                                                                                                    $
         David King                                                     Contingent
                                                                        Unliquidated
         4045 Orchard Road Building 400                                 Disputed

         Smyrna, GA 30080

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Notice Only - Denise
                                                                                                                        Chapman Mushegan and
                                                                                                                        H. Alan Mushegan
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




 4.4     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                  975,000.00
         Denise Chapman Mushegan and H. Alan Mushegan                   Contingent
                                                                        Unliquidated
         5020 Pindos Trail                                              Disputed

         Powder Springs, GA 30127

         Date or dates debt was incurred                            Basis for the claim:                                Description




         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                   page 2 of 4
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              Name



 4.5     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                           0.00
         Jeffrey Tucker                                                 Contingent
                                                                        Unliquidated
         2950 Atlanta road SE                                           Disputed
         Smyrna, Ga 30080




         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Notice Only - Denise
                                                                                                                        Chapman Mushegan and
                                                                                                                        H. Alan Mushegan
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




 4.6     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                  573,041.00
         Jennifer Blomquist                                             Contingent
                                                                        Unliquidated
         3478 Rabbit Run                                                Disputed


         Acworth, GA 30101

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Shareholder loan


         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                   page 3 of 4
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              Name



Part 3:   List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
      collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
      copy the next page.

                                                                      On which line in Part 1 or Part 2 is the         Last 4 digits of account
      Name and mailing address
                                                                      related creditor (if any) listed?                number



Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims


5.    Add the amounts of priority and nonpriority unsecured claims.                             Total of claim amounts


5a.   Total claims from Part 1                                                     5a.           $                       0.00



5b.   Total claims from Part 2                                                     5b.     +     $            1,548,041.00




5c.   Total of Parts 1 and 2                                                       5c.           $            1,548,041.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 4
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Fill in this information to identify your case: 

Debtor Name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                                     Check if this is an
                                                                                                                                            amended filing
Case number (If known):                                                           Chapter    7




Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
          Form 206A/B).

                                                                                      State the name and mailing address for all other parties with whom
2.    List all contracts and unexpired leases
                                                                                      the debtor has an executory contract or unexpired lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
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Fill in this information to identify your case: 

Debtor Name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                                Check if this is an
                                                                                                                                        amended filing
Case number (If known):




Official Form 206H
Schedule H: Your Codebtors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.
1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                       Column 2: Creditor

                                                                                                                                 Check all schedules that
      Name and description            Mailing address                                          Name
                                                                                                                                 apply:




Official Form 206H                                              Schedule H: Your Codebtors                                                        page 1 of 1
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Fill in this information to identify your case: 

Debtor name      Blomquist Builders Group Inc.

United States Bankruptcy Court for the: Northern District of Georgia                                                        Check if this is an
                                                                                                                               amended filing
Case number (If known):




Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).



Part 1:    Income

1.   Gross revenue from business
      None

          Identify the beginning and ending dates of the debtor’s fiscal year,         Sources of income                          Gross income
          which may be a calendar year                                                 Check all that apply.                      (before deductions and
                                                                                                                                  exclusions)


          From the beginning of the       From 1/1/2023   to           Filing date      Operating a business                     $         351,380.00
          fiscal year to filing date:          MM/DD/YYYY                               Other

          For prior year:                 From 1/1/2022   to 12/31/2022                 Operating a business                     $        1,010,003.00
                                               MM/DD/YYYY    MM/DD/YYYY                 Other

          For the year before that:       From 1/1/2021   to 12/31/2021                 Operating a business                     $        3,238,416.00
                                               MM/DD/YYYY    MM/DD/YYYY                 Other

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      None

                                                                                       Description of sources of revenue          Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the       From                   to    Filing date                                                $
          fiscal year to filing date:               MM/DD/YYYY

          For prior year:                 From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY

          For the year before that:       From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY




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Debtor        Blomquist Builders Group Inc.                                                       Case number (if known)
              Name



Part 2:    List Certain Transfers Made Before Filing for Bankruptcy


3.    Certain payments or transfers to creditors within 90 days before filing this case
      List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within
      90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This
      amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       None

           Creditor’s name and address                        Dates               Total amount or value          Reasons for payment or transfer
                                                                                                                 Check all that apply

     3.1                                                                          $                                Secured debt
           Creditor’s Name                                                                                         Unsecured loan repayments
                                                                                                                   Suppliers or vendors
           Number       Street                                                                                     Services
                                                                                                                   Other
                                                                                                                             ¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯
           City                    State ZIP Code



4.    Payments or other transfers of property made within 1 year before filing this case that benefited any insider
      List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
      insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the
      insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or
      after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
      control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor
      and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None

           Insider’s name and address                         Dates               Total amount or value          Reasons for payment or transfer

     4.1                                                                         $
           Insider’s Name


           Number       Street


           City                    State ZIP Code

           Relationship to debtor




5.    Repossessions, foreclosures, and returns
      List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
      sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
       None




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2 of 14
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Debtor          Blomquist Builders Group Inc.                                                       Case number (if known)
                Name



           Creditor’s name and address                        Description of the property                               Date                Value of property

     5.1                                                                                                                                    $
           Creditor’s Name


           Number       Street


           City                    State ZIP Code



6.    Setoffs
      List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
      the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
       None

           Creditor’s name and address                        Description of the action creditor took                   Date action         Amount
                                                                                                                        was taken

     6.1                                                                                                                                    $
           Creditor’s Name


           Number       Street

                                                             Last 4 digits of account number: XXXX–
           City                    State ZIP Code




Part 3:     Legal Actions or Assignments


7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
      List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
      was involved in any capacity—within 1 year before filing this case.
       None

           Case title                               Nature of case                           Court or agency’s name and address                   Status of case

         BLOMQUIST BUILDERS                                                                                                                         Pending
         GROUP, INC. v. DENISE                                                                                                                      On appeal
         CHAPMAN MUSHEGAN
         a/k/a ANITA D. CHAPMAN,                                                                                                                    Concluded
     7.1 and H. ALAN MUSHEGAN                       Contract                                 Superior Court of Cobb County
                                                                                             Creditor’s Name
           Case Number
           18101356
                                                                                             Number          Street


                                                                                             City                        State   ZIP Code



8.    Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
      hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
       None



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              Name



           Custodian’s name and address                     Description of the property                        Value


     8.1                                                                                                   $
           Custodian’s name
                                                            Case title                                         Court name and address



           Number     Street                                                                                   Court’s Name
                                                            Case number


           City                   State     ZIP Code                                                           Number     Street
                                                            Date of order or assignment


                                                                                                               City                 State   ZIP Code




Part 4:    Certain Gifts and Charitable Contributions


9.    List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000
       None

           Recipient’s name and address                    Description of the gifts or contributions            Dates given        Value

     9.1                                                                                                                           $
           Recipient’s Name



           Number      Street



           City                   State    ZIP Code

           Recipient’s relationship to debtor




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                Name



Part 5:      Certain Losses


10.     All losses from fire, theft, or other casualty within 1 year before filing this case.
         None

             Description of the property lost              Amount of payments received for the loss                       Date of loss       Value of property
             and how the loss occurred                     If you have received payments to cover the loss, for                              lost
                                                           example, from insurance, government compensation,
                                                           or tort liability, list the total received.
                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets – Real and Personal Property).


      10.1                                                                                                                                   $




Part 6:      Certain Payments or Transfers


11.     Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
        the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
        seeking bankruptcy relief, or filing a bankruptcy case.
         None

             Who was paid or received the transfer?            If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value

      11.1 Evan M. Altman, Esq                                   Attorney Fee                                                                 $          6,000.00
             Recipient’s Name


             8325 Dunwoody Pl Bldg 2
             Number       Street


             Atlanta                 GA       30350
             City                    State    ZIP Code

             Email or website address




             Who made the payment, if not debtor?




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                Name



             Who was paid or received the transfer?              If not money, describe any property transferred             Dates             Total amount or
                                                                                                                                               value

      11.2 Evan M. Altman, Esq                                    Filing Fee                                                                    $           338.00
             Recipient’s Name



             Number        Street



             City                     State    ZIP Code

             Email or website address




             Who made the payment, if not debtor?




12.     Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
        a self-settled trust or similar device.
        Do not include transfers already listed on this statement.
         None

             Name of trust or device                            Describe any property transferred                      Dates transfers         Total amount or
                                                                                                                       were made               value

      12.1                                                                                                                                      $

             Trustee




13.     Transfers not already listed on this statement
        List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
        within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
        Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         None

             Who received transfer?                              Description of property transferred or                     Date transfer        Total amount or
                                                                 payments received or debts paid in exchange                was made             value

      13.1                                                                                                                                          $
             Recipient’s Name



             Number        Street



             City                     State    ZIP Code

             Relationship to debtor




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                Name



Part 7:      Previous Locations


14.     Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply




Part 8:      Health Care Bankruptcies


15.     Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        ⎯⎯ diagnosing or treating injury, deformity, or disease, or
        ⎯⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?
         No. Go to Part 9.
         Yes. Fill in the information below.

             Facility name and address                          Nature of the business operation, including type of                     If debtor provides meals
                                                                services the debtor provides                                            and housing, number of
                                                                                                                                        patients in debtor’s care


      15.1
             Facility Name
                                                                Location where patient records are maintained (if different
                                                                                                                                        How are records kept?
                                                                from facility address). If electronic, identify any service provider.
                                                                                                                                        Check all that apply:
             Number          Street
                                                                                                                                         Electronically
                                                                                                                                         Paper
             City                      State    ZIP Code




Part 9:      Personally Identifiable Information


16.     Does the debtor collect and retain personally identifiable information of customers?
         No.
         Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                     No
                     Yes




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                Name



17.     Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
        pension or profit-sharing plan made available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                     No. Go to Part 10.
                     Yes. Fill in below:
                        Name of plan                                                                              Employer identification number of the plan



                        Has the plan been terminated?
                         No
                         Yes



Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


18.     Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
        brokerage houses, cooperatives, associations, and other financial institutions.
         None

             Financial institution name and address             Last 4 digits of        Type of account                    Date account        Last balance
                                                                account number                                             was closed,         before closing or
                                                                                                                           sold, moved,        transfer
                                                                                                                           or transferred

      18.1                                                       XXXX–                   Checking                                              $
             Name                                                                        Savings
                                                                                         Money market
             Number         Street                                                       Brokerage
                                                                                         Other
                                                                                                   ¯¯¯¯¯¯¯¯¯¯¯¯¯
             City                      State    ZIP Code



19.     Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

             Depository institution name and address              Names of anyone with access to it             Description of the contents          Does debtor
                                                                                                                                                     still have it?

      19.1                                                                                                                                             No
             Name                                                                                                                                      Yes
                                                                  Address


             Number         Street


             City                      State     ZIP Code




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                Name



20.     Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.
         None

             Facility name and address                             Names of anyone with access to it              Description of the contents           Does debtor
                                                                                                                                                        still have it?

                                                                                                                                                         No
      20.1                                                                                                                                               Yes
             Name


                                                                   Address


             Number        Street



             City                      State    ZIP Code




Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own


21.     Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
        trust. Do not list leased or rented property.
         None

             Owner’s name and address                              Location of the property                    Description of the property             Value

      21.1                                                                                                                                             $
             Owner’s Name



             Number        Street



             City                     State    ZIP Code




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Debtor          Blomquist Builders Group Inc.                                                   Case number (if known)
                Name



Part 12:     Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.
◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
  or a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22.     Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Provide details below.

             Case title                             Court or agency name and address                    Nature of case                           Status of case


      22.1                                                                                                                                        Pending
                                                    Name                                                                                          On appeal
             Case Number                                                                                                                          Concluded

                                                    Number       Street



                                                    City                     State ZIP Code



23.     Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?
         No
         Yes. Provide details below.

             Site name and address                            Governmental unit name and address                   Environmental law, if          Date of notice
                                                                                                                   known

      23.1
             Name                                              Name



             Number       Street                               Number        Street



             City                   State    ZIP Code          City                    State    ZIP Code



24.     Has the debtor notified any governmental unit of any release of hazardous material?
         No
         Yes. Provide details below.




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Debtor          Blomquist Builders Group Inc.                                                   Case number (if known)
                Name



             Site name and address                             Governmental unit name and address                   Environmental law, if        Date of notice
                                                                                                                    known

      24.1
             Name                                               Name



             Number          Street                             Number       Street



             City                      State    ZIP Code        City                   State   ZIP Code




Part 13:      Details About the Debtor’s Business or Connections to Any Business


25.     Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.
         None

             Business name and address                         Describe the nature of the business          Employer Identification number
                                                                                                            Do not include Social Security number or ITIN.

      25.1                                                                                                   EIN:
             Name
                                                                                                            Dates business existed

                                                                                                            From                        To   Present
             Number          Street



             City                      State    ZIP Code



26.     Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                    None

                      Name and address                                                                              Dates of service

             26a.1                                                                                                  From                     To Present
                      Name


                      Number          Street


                      City                                                            State    ZIP Code


        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
             statement within 2 years before filing this case.
                    None




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              Name



                     Name and address                                                                              Dates of service

         26b.1                                                                                                      From                  To Present
                     Name



                     Number       Street


                     City                                                            State     ZIP Code


      26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                   None

                                                                                                                   If any books of account and records are
                     Name and address
                                                                                                                   unavailable, explain why

         26c.1
                     Name


                     Number       Street


                     City                                                            State     ZIP Code


      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
                   None

                     Name and address

         26d.1
                     Name


                     Number       Street



                     City                                                            State     ZIP Code



27.   Inventories
      Have any inventories of the debtor’s property been taken within 2 years before filing this case?
       No
       Yes. Give the details about the two most recent inventories.




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                Name



              Name of the person who supervised the taking of the inventory                                    Date of            The dollar amount and basis
                                                                                                               inventory          (cost, market, or other basis)
                                                                                                                                  of each inventory
                                                                                                                                    $

              Name and address of the person who has possession of inventory records

      27.1
              Name


              Number                Street


              City                                                               State    ZIP Code



28.     List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
        control of the debtor at the time of the filing of this case.

              Name                                    Address                                  Position and nature of any interest           % of interest, if any

                                                        3478 Rabbit Run
       28.1    Jennifer Blomquist                       Acworth, GA 30101                        CEO, CFO, Secretary                          100.00


 29.     Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
          No
          Yes. Identify below.

               Name                                   Address                                  Position and nature of        Period during which position or
                                                                                               any interest                  interest was held


       29.1                                                                                                                  From                 To Present


 30.     Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
          Yes. Identify below.

              Name and address of recipient                             Amount of money or description and                Dates                Reason for
                                                                        value of property                                                      providing the
                                                                                                                                               value

       30.1
              Recipient’s Name


              Number       Street


              City                            State   ZIP Code

              Relationship to debtor




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              Name



31.   Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
       No
       Yes. Identify below.

           Name of the parent corporation                                                    Employer Identification number of the parent corporation

                                                                                             EIN:


32.   Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
       No
       Yes. Identify below.

           Name of the pension fund                                                          Employer Identification number of the pension fund

                                                                                             EIN:



Part 14:   Signature and Declaration


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.
      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.
      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on    9/21/2023
                     MM/DD/YYYY


       /s/ Jennifer Blomquist
        Signature of individual signing on behalf of the debtor
                                                                                      Printed name Jennifer Blomquist



           Position or relationship to debtor   President

      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No
       Yes




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B2030 (Form 2030) (12/15)



                                                                          United States Bankruptcy Court
                                                                                Northern District of Georgia


In re

                                                                                                                           Case No.

Debtor               Blomquist Builders Group Inc.                                                                         Chapter    7


                                               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation paid
     to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
     the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept ........................................................... $                        6,000.00

     Prior to the filing of this statement I have received .............................................. $                           6,000.00

     Balance Due .......................................................................................................... $             0.00

2.   The source of the compensation paid to me was:
               Debtor                            Other (specify)

3.   The source of compensation to be paid to me is:
               Debtor                            Other (specify)

4.    I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

      I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my law firm.
     A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

            • Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;

            • Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

            • Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;


3.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

     Filing Fee, Adversary Proceedings




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                                                                           CERTIFICATION
                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of
                     the debtor(s) in this bankruptcy proceeding.
                     9/21/2023                                                    /s/ Evan Altman
                     Date                                                         Signature of Attorney

                                                                                  Evan Altman Law Office
                                                                                  8325 Dunwoody Place
                                                                                  Atlanta, GA 30350
                                                                                  EVAN.ALTMAN@LASLAWGROUP.COM
                                                                                  Name of law firm






Official Form 2030                                    Disclosure of Compensation Of Attorney For Debtor                                                 page 2 of 2
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                                                 United States Bankruptcy Court
                                                        Northern District of Georgia
In re   Blomquist Builders Group Inc.                                     Case No.
                                                    Debtor(s)             Chapter      7




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:     9/21/2023                                                           /s/ Jennifer Blomquist
                                                                              Jennifer Blomquist
                                                                              Signature of Debtor




                                                                 Creditor Matrix                                      page 1 of 2
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                                                    Bryan Burkhalter
                                                    900 Circle 75 Parkway Suite 950
                                                    Atlanta, GA 30339



                                                    Bryan Busch
                                                    3424 Peachtree Road Suite 1600
                                                    Atlanta, GA 30326



                                                    David King
                                                    4045 Orchard Road Building 400
                                                    Smyrna, GA 30080



                                                    Denise Chapman Mushegan and H. Alan Mushegan
                                                    5020 Pindos Trail
                                                    Powder Springs, GA 30127



                                                    Jeffrey Tucker
                                                    2950 Atlanta road SE
                                                    Smyrna, Ga 30080



                                                    Jennifer Blomquist
                                                    3478 Rabbit Run
                                                    Acworth, GA 30101




                                                                Creditor Matrix                                 page 2 of 2
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